     Case 17-05137-LT7                Filed 06/27/22        Entered 06/27/22 10:49:51         Doc 849     Pg. 1 of 2
CSD 1001A [11/15/04]
Name, Address, Telephone No. & I.D. No.

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OFFICE OF THE UNITED STATES TRUSTEE                                                           June 27, 2022
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             UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
      325 West "F" Street, San Diego, California 92101-6991


In Re: PEPPERTREE PARK VILLAGES 9 & 10 LLC                                      (JOINTLY ADMINISTERED)
JOINTLY ADMINISTERED WITH:                                                        LEAD CASE NO. 17-05137-LT11
      PEPPERTREE LAND CO. 17-05135-LT11
                                                                                    Date of Hearing: June 22, 2022
      NORTHERN CAPITAL, INC., 17-04845-LT11                                         Time of Hearing: 10:00 a.m.
      DUANE SCOTT URQUHART, 17-04846-LT11                            Debtors.       Judge: Hon. LAURA S. TAYLOR



        ORDER CONVERTING CASE UNDER CHAPTER 11 TO CASE UNDER CHAPTER 7



          IT IS ORDERED THAT the relief sought as set forth on the continuation pages attached and numbered two (2)

 through (2) with exhibits, if any, for a total of   2   pages, is granted. Motion/Application Docket Entry Nos. 810

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 DATED:         June 27, 2022
                                                                      Judge, United States Bankruptcy Court


 Signature by the attorney constitutes a certification under
 Fed. R. of Bankr. P. 9011 that the relief in the order is the
 relief granted by the court.

 Submitted by:
 TIFFANY L. CARROLL
 ACTING UNITED STATES TRUSTEE
 (Firm name)

 By: /s/ David A. Ortiz
   David A. Ortiz




CSD 1001A
      Case 17-05137-LT7 Filed 06/27/22             Entered 06/27/22 10:49:51        Doc 849       Pg. 2 of 2
 CSD 1001A [11/15/04](Page 2)
 DEBTOR: PEPPERTREE PARK VILLAGES 9 & 10 LLC
 CASE NO: 17-05137
 ORDER CONVERTING CASE UNDER CHAPTER 11 TO CASE UNDER CHAPTER 7


    The Reorganized Debtors’ Motion for Order (1) Dismissing Chapter 11 Case, and (2) Reserving Jurisdiction
to Enforce Settlement Agreement (“Motion to Dismiss”) came before the Court on June 22, 2022, in Department
Three of the United States Bankruptcy Court for the Southern District of California, the Honorable Laura S.
Taylor, Bankruptcy Judge, presiding. David A. Ortiz, Esq., appeared on behalf of the Acting United States
Trustee. Paul Leeds, Esq., appeared on behalf of Reorganized Debtor Peppertree Park Villages 9 & 10, LLC.
Victor Vilaplana Esq., appeared on behalf of Reorganized Debtor Northern Capital, Inc. Jonathan Dabbieri, Esq.,
appeared on behalf of creditor Meritage Homes of California, Inc. All other appearances were as noted on the
record.

   Based upon the Motion to Dismiss, argument of counsel, and for the reasons set forth by the Court on the
record at the hearing, the Court hereby finds “cause” exists to dismiss or convert the chapter 11 case of
Peppertree Park Villages 9 & 10, LLC, case number 17-05137-LT11. The Court further finds that conversion of
Peppertree Park Villages 9 & 10, LLC, case number 17-05137-LT11, to one under chapter 7, rather than
dismissal of the case, is in the best interest of creditors.

WHEREFORE, IT IS HEREBY ORDERED THAT:

   1. Peppertree Park Villages 9 & 10, LLC, case number 17-05137-LT11 is converted to a case under chapter
      7. The remaining jointly administered reorganized debtors’ cases, Peppertree Land Co., (case no. 17-
      05135-LT11), Northern Capital, Inc., (case no. 17-04845-LT11) and Duane Scott Urquhart (case no. 17-
      04846-LT11) shall remain as chapter 11 cases with the Motion to Dismiss continued for further hearing
      on August 2, 2022 at 3:00 p.m.

   2. Debtor Peppertree Park Villages 9 & 10, LLC, within 30 days of the date of this order, shall file:

       a. a schedule of all property not listed in the final report and account of the debtor in possession or
          chapter 11 trustee which was acquired after the commencement of the chapter 11 case but before
          the entry of this conversion order;

       b. a schedule of executory contracts and unexpired leases entered into or assumed after the
          commencement of the chapter 11 case but before the entry of this conversion order;

       c. a schedule of unpaid debts not listed in the final report and account of the debtor in possession or
          chapter 11 trustee which were incurred after the commencement of the chapter 11 case but before
          the entry of this conversion order, as required by FRBP 1019(5); and

       d. a statement of intention with respect to retention or surrender of property securing consumer debts,
          as required by 11 U.S.C. § 521(a) and FRBP 1019(1)(B), and conforming to Official Form 108.

Approved as to form:                                        Approved as to form:


/s/ Paul J. Leeds                                           /s/ Victor A. Vilaplana
Paul J. Leeds, Esq.                                         Víctor A. Vilaplana, Esq.
Franklin Soto Leeds LLP                                     Attorney for Northern Capital, Inc.
Attorneys for Peppertree Park Villages 9 & 10, LLC

Approved as to form:


/s/ Jonathan S. Dabbieri
Jonathan S. Dabbieri, Esq.
Sullivan Hill Rez & Engel
Attorneys for Meritage Homes of California, Inc.

                                                                       Signed by Judge Laura Stuart Taylor June 27, 2022
